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                          UNITED STATES COURT OF APPEALS
                             FOR THE ELEVENTH CIRCUIT
                             ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                           56 Forsyth Street, N.W.
                                           Atlanta, Georgia 30303

David J. Smith                                                                      For rules and forms visit
Clerk of Court                                                                      www.ca11.uscourts.gov


                                       December 07, 2023

Clerk - Middle District of Florida
U.S. District Court
U.S. Courthouse and Federal Building
2110 1ST ST
FORT MYERS, FL 33901

Appeal Number: 23-13063-F
Case Style: John Doe v. Florida Gulf Coast University Board of Trustees
District Court Docket No: 2:23-cv-00245-SPC-KCD

The enclosed copy of the Clerk's Order of Dismissal for failure to prosecute in the above-
referenced appeal is issued as the mandate of this court. See 11th Cir. R. 41-4. Pursuant to 11th
Cir. R. 42-2(c) and 42-3(c), when an appellant fails to timely file or correct a brief or appendix,
the appeal shall be treated as dismissed on the first business day following the due date. This
appeal was treated as dismissed on 12/07/2023.

Eleventh Circuit Rules 42-2(e) and 42-3(e) govern motions to set aside dismissal and remedy
the default. Such motions must be filed within 14 days of the date the clerk issues the Order of
Dismissal. Except as otherwise provided by FRAP 25(a) for inmate filings, a motion to set aside
dismissal and remedy the default is not timely unless the clerk receives the motion within the
time fixed for filing. See FRAP 25(a)(2)(A)(i).

Any pending motions are now rendered moot in light of the attached order.

Clerk's Office Phone Numbers
General Information: 404-335-6100           Attorney Admissions:         404-335-6122
Case Administration: 404-335-6135           Capital Cases:               404-335-6200
CM/ECF Help Desk: 404-335-6125              Cases Set for Oral Argument: 404-335-6141
Enclosure(s)



                                                           DIS-2CIV Letter and Entry of Dismissal
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                      IN THE UNITED STATES COURT OF APPEALS
                             FOR THE ELEVENTH CIRCUIT

                                       ______________

                                       No. 23-13063-F
                                       ______________

JOHN DOE,

                                                 Plaintiff - Appellant,

versus

FLORIDA GULF COAST UNIVERSITY BOARD OF TRUSTEES,

                                            Defendant - Appellee.
                      __________________________________________

                         Appeal from the United States District Court
                              for the Middle District of Florida
                      __________________________________________

ORDER: Pursuant to the 11th Cir. R. 42-2(c), this appeal is DISMISSED for want of
prosecution because the appellant John Doe failed to file an appendix within the time fixed by
the rules, effective December 07, 2023.

                                      DAVID J. SMITH
                           Clerk of Court of the United States Court
                              of Appeals for the Eleventh Circuit

                                                         FOR THE COURT - BY DIRECTION
